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 1   BURSOR & FISHER, P.A.
     L. Timothy Fisher (State Bar No. 191626)
 2   Joshua B. Glatt (State Bar No. 354064)
     1990 North California Blvd., 9th Floor
 3   Walnut Creek, CA 94596
 4   Telephone: (925) 300-4455
     Facsimile: (925) 407-2700
 5   E-mail: ltfisher@bursor.com
             jglatt@bursor.com
 6
     Attorneys for Plaintiff
 7

 8   [additional counsel listed on signature page]

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10
                                 UNITED STATES DISTRICT COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
12

13   DAVID MILLETTE, individually and on behalf      Case No. 5:24-cv-04708-EJD
     of all others similarly situated,
14                                                   JOINT STIPULATION AND
                                       Plaintiff,    [PROPOSED] ORDER TO AMEND
15          v.                                       BRIEFING SCHEDULE
16
     OPENAI, INC., OPENAI, L.P., OPENAI OPCO,        Hon. Edward J. Davila
17   L.L.C., OPENAI GP, L.L.C., OPENAI
     STARTUP FUND I, L.P., OPENAI STARTUP
18   FUND GP I, L.L.C., and OPENAI STARTUP
     FUND MANAGEMENT, LLC,
19

20                                     Defendants.

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     STIPULATION AND [PROPOSED] ORDER
     CASE NO. 5:24-cv-04708-EJD
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 1                                               STIPULATION

 2          WHEREAS, on August 2, 2024, Plaintiff David Millette filed his complaint in this action

 3   (ECF No. 1);

 4          WHEREAS, Defendants filed their Motion to Dismiss on September 4, 2024, Plaintiff’s

 5   Opposition to Defendants’ Motion to Dismiss is due on September 18, 2024, and Defendants’

 6   Reply is due September 25, 2024 (ECF No. 35);

 7          WHEREAS, the case was reassigned to Judge Edward J. Davila on September 6, 2024

 8   (ECF No. 37);

 9          WHEREAS, the Motion to Dismiss hearing is currently scheduled for November 7, 2024;

10          WHEREAS, the Parties met and conferred and Plaintiff’s counsel requested an additional

11   30 days to respond to Defendants’ Motion to Dismiss. Defendants requested an additional 30-day

12   extension for their Reply. The Parties also agreed to stay discovery until the pleadings are

13   resolved.

14          NOW THEREFORE, IT IS HEREBY STIPULATED BY AND BETWEEN THE

15   PARTIES, through their respective counsel and subject to the Court’s approval that:

16                  Plaintiff’s deadline to file its Opposition to Defendants’ Motion to Dismiss be

17                   moved from September 18, 2024 to October 18, 2024.

18                  Defendants’ deadline to file its Reply to Plaintiff’s Opposition to Defendants’

19                   Motion to Dismiss be moved from September 25, 2024 to November 18, 2024.

20                  Discovery is stayed while the Motion is pending.

21                  A hearing on the Motion to Dismiss be held on Thursday, January 16, 2025 or a

22                   date as set by the Court.

23   Dated: September 17, 2024                     Respectfully submitted,
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                                                   BURSOR & FISHER, P.A.
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                                                   By:     /s/ L. Timothy Fisher
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                                                   L. Timothy Fisher (State Bar No. 191626)
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                                                   Joshua B. Glatt (State Bar No. 354064)
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     STIPULATION AND [PROPOSED] ORDER                                                                  1
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 1                                      1990 North California Blvd., 9th Floor
                                        Walnut Creek, CA 94596
 2                                      Telephone: (925) 300-4455
 3                                      Facsimile: (925) 407-2700
                                        E-mail: ltfisher@bursor.com
 4                                              jglatt@bursor.com

 5                                      Joseph I. Marchese (pro hac vice forthcoming)
                                        Julian C. Diamond (pro hac vice forthcoming)
 6                                      1330 Avenue of the Americas, 32nd Floor
 7                                      New York, NY 10019
                                        Telephone: (646) 837-7150
 8                                      Facsimile: (212) 989-9163
                                        E-Mail: jmarchese@bursor.com
 9                                               jdiamond@bursor.com
10                                      Attorneys for Plaintiff
11   Dated: September 17, 2024          LATHAM & WATKINS LLP
12
                                        By:    /s/ Elana Nightingale Dawson
13                                             Elana Nightingale Dawson

14                                      Andrew M. Gass (SBN 259694)
                                          andrew.gass@lw.com
15                                      Joseph R. Wetzel (SBN 238008)
16                                        joe.wetzel@lw.com
                                        505 Montgomery Street, Suite 2000
17                                      San Francisco, CA 94111
                                        Telephone: 415.391.0600
18
                                        Sarang V. Damle (pro hac vice)
19                                       sy.damle@lw.com
20                                      Elana Nightingale Dawson (pro hac vice)
                                         elana.nightingaledawson@lw.com
21                                      555 Eleventh Street, NW, Suite 1000
                                        Washington, D.C. 20004
22                                      Telephone: (202) 637-2200
23
                                        Allison L. Stillman (pro hac vice)
24                                        alli.stillman@lw.com
                                        Rachel R. Blitzer (pro hac vice)
25                                        rachel.blitzer@lw.com
                                        1271 Avenue of the Americas
26                                      New York, NY 10020
27                                      Telephone: (212) 906-1200

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     STIPULATION AND [PROPOSED] ORDER                                                   2
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 1
                                                  MORRISON & FOERSTER LLP
 2                                                Joseph C. Gratz (SBN 240676)
 3                                                  jgratz@mofo.com
                                                  Vera Ranieri (SBN 271594)
 4                                                  vranieri@mofo.com
                                                  Melody E. Wong (SBN 341494)
 5                                                   melodywong@mofo.com
                                                  425 Market Street
 6
                                                  San Francisco, CA 94105-2482
 7                                                Telephone: (415) 268-7000

 8                                                Allyson R. Bennett (SBN 302090)
                                                    abennett@mofo.com
 9                                                707 Wilshire Boulevard
10                                                Los Angeles, CA 90017-3543
                                                  Telephone: (213) 892-5200
11
                                                  Carolyn M. Homer (SBN 286441)
12                                                  cmhomer@mofo.com
                                                  2100 L Street NW Suite 900
13
                                                  Washington, D.C., 20037-1525
14                                                Telephone: (202) 887-1500

15                                                Max I. Levy (SBN 346289)
                                                    mlevy@mofo.com
16                                                755 Page Mill Road
                                                  Palo Alto, CA 94304-1018
17
                                                  Telephone: (653) 813- 5600
18
                                                  Attorneys for Defendants
19

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22                                CIVIL L.R. 5-1(i)(3) ATTESTATION
23          Pursuant to Civil Local Rule 5-1(i)(3), I hereby attest under penalty of perjury that
24   concurrence in the filing of this document has been obtained from all signatories.
25

26                                                        /s/ L. Timothy Fisher
                                                              L. Timothy Fisher
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     STIPULATION AND [PROPOSED] ORDER                                                        3
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 1                                          [PROPOSED] ORDER

 2            Upon review of the foregoing stipulation of the Parties, and finding good cause for the

 3   same, the Court hereby orders the following deadlines amended as follows:

 4                  Plaintiff’s deadline to file its Opposition to Defendants’ Motion to Dismiss be

 5                   moved from September 18, 2024 to October 18, 2024.

 6                  Defendants’ deadline to file its Reply to Plaintiff’s Opposition to Defendants’

 7                   Motion to Dismiss be moved from September 25, 2024 to November 18, 2024.

 8                  Discovery is stayed while the Motion is pending.

 9                  A hearing on the Motion to Dismiss be held on January 16, 2025 or

10                   ______________.

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12   IT IS SO ORDERED.

13
     Dated:
14                                                        Hon. Edward J. Davila
15                                                        United States District Judge

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     STIPULATION AND [PROPOSED] ORDER                                                                   4
     CASE NO. 5:24-cv-04708-EJD
